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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
__________________________________________

JAMES M. WEST (89-A-6906),

                             Plaintiff,                    DECLARATION

       vs.                                                 05-CV-447

DOCCS,

                        Defendant.
_____________________________________

       DENETRA D. ROBERTS declares under penalty of perjury that the following is true

and correct in accordance with 28 U.S.C. Sec. 1746:

       1.     I am an Assistant Attorney General, of counsel in this matter to Eric T.

Schneiderman, Attorney General of the State of New York, attorney for Defendant New York

State Department of Corrections and Community Supervision (“DOCCS”).

       2.     I offer this declaration in support of Defendant’s motion to dismiss.

       3.     Attached hereto as Exhibit A is a copy of the “Offer of Judgment” served on the

Plaintiff on December 29, 2017.

Dated: January 18, 2018
       Buffalo, New York

                                            ERIC T. SCHNEIDERMAN
                                            Attorney General of the State of New York
                                            Attorney for Defendant
                                            BY:
                                            /s/ Denetra D. Roberts
                                            DENETRA D ROBERTS
                                            Assistant Attorney General of Counsel
                                            Main Place Tower
                                            350 Main Street, Suite 300A
                                            Buffalo, New York 14202
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


JAMES WEST, 89-A-6906

                                Plaintiff,                      OFFER OF JUDGMENT
                                                                PURSUANT TO FED.R.CIV.P. 68

                                                                05-CV-447
GLENN GOORI), et aL,
                                Defendants.

         Pursuant to Rule 68 ofthe Federal Rules of Civil Procedure, Defendant the New York State

Department of Corrections and Community Supervision ("DOCCS"), hereby offers to allow

Plaintiff, James West, to take a judgment against it in this action for a total sum of Five Hundred

Dollars ($500), inclusive of attorney's fees, expenses and costs in this action to the date of this
offer.

         This judgment shall be in full satisfaction of all claims (including federal and state claims)

or rights Plaintiff may have to damages, or any other form of relief, arising out of the alleged acts

or omissions of Defendant, all former Defendants, Glenn S. Goord, Stephan Bemardi, Thomas

Poole, Thomas Eagan, Julie Dermis, Janice Henrich, Lisa Lauber, David Napoli, Donald Selsky,

Lucien Leclaire, Jeffery Case, Ray Pabon and Joseph Keefe, and the State of New York, or any

official, employee, representative, contractor or agent, either past or present, of the State of New

York or any instrumentality or agency thereof, in connection with the facts and circumstances that

are the subject of this action, or could have been brought in the above-captioned action.

         This offer ofjudgment may only be accepted within 14 days after it is served.

         This offer of judgment is made for the purposes specified in Rule 68 of the Federal Rules

of Civil procedure and is not to be construed as an admission of liability by Defendant, or any
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official, employee or agent of the State ofNew York, or any instrumentality or agency thereof; nor

is it an admission that plaintiff has suffered any damages. By making this Offer of Judgement
Defendant DOCCS does not admit any wrongdoing.

         Acceptance of this offer of judgment will act to release and discharge Defendant DOCCS,

as well as all former Defendants and the State of New York; their successors and assigns; and all
past   and present officials, employees, representatives, contractors and agents of the State of New

York, and any instrumentality or agency thereof, from any and all claims that were or could have

been alleged by Plaintiff in the above -captioned action.

         Acceptance of this offer of judgment will operate to waive Plaintiff's rights to any claim

for interest on the amount of the judgment.

         By accepting this offer, Plaintiff agrees that payment of Five Hundred Dollars ($500),

within one hundred and twenty (120) days ofthe acceptance ofthis offer shall be a reasonable time

for such payment, unless Plaintiff received medical treatment in connection with the underlying

claims in this case for which Medicare has provided, or will provide payment in full or in part. If

Plaintiff is a Medicare recipient who received medical treatment in connection with the claims in

this case, the one hundred and twenty (120) day period for payment shall start to run from the date

Plaintiff submits to counsel for Defendant a final demand letter from Medicare.

         By acceptance of this offer ofjudgment, Plaintiff agrees to resolve any claim that Medicare

may have for reimbursement of conditional payments it has made as secondary payer and a

Medicare Set-Aside Trust shall be created, if required by 42 U.S.C. 1395y(b) and 42 C.F.R. §

411.22 through 411.26. Plaintiff further agrees to hold harmless Defendant, and all former

Defendants and the State of New York, regarding any past and/or future Medicare payments or

liens, presently known or unknown, made in connection with this matter.


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       If the provisions ofNew York Executive Law § 632-a apply to Plaintiff, and the payment

hereunder constitutes "funds of a convicted person" under the Son of Sam Law, then the foregoing
one hundred and twenty (120) day payment period shall be extended by an additional thirty (30)

days to allow for compliance with that law.

       By accepting this offer of judgment, Plaintiff agrees to execute and deliver to counsel for

Defendant all necessary or appropriate vouchers and other documents requested with to process

payment pursuant to   Section 17 of the New York Public Officers Law.

       The judgment shall contain and recite the terms and conditions set forth herein.


DATED:         Buffalo, New York
               December 28, 2017
                                              ERIC T. SCHNEIDERMAN
                                              Attorney General ofthe State of New York
                                              Attorney for Defendant




                                              Assistant Attorney General of Counsel
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                                              350 Main Street
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                                              Denetra.Roberts@ag.ny.gov




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